
*204Appeal from order, Supreme Court, New York County (Charles E. Ramos, J.), entered October 26, 2007, which granted defendant’s motion to confirm the report of the Special Referee recommending dismissal of plaintiffs’ claims, and denied plaintiffs’ cross motion to set the report aside, deemed an appeal from judgment, same court and Justice, entered March 10, 2008 (CPLR 5501 [c]), inter alia, dismissing the complaint, and, so considered, said judgment unanimously affirmed, with costs.
Plaintiffs’ contention that the court improperly referred the matter to a referee to hear and report on contested questions of fact was waived by their failure to object to the reference as well as by their willing participation in the resulting hearing (see Law Offs. of Sanford A. Rubenstein v Shapiro Baines &amp; Saasto, 269 AD2d 224, 225 [2000], lv denied 95 NY2d 757 [2000]). Furthermore, the court, in confirming the report, properly deferred to the findings of the Special Referee, “who was in the best position to weigh the evidence and make credibility determinations” (Andersen v Weinroth, 48 AD3d 121, 133 [2007]).
We have considered plaintiffs’ remaining contentions, including that the court, in confirming the report, failed to consider all of their claims, and find them unavailing. Concur—Andrias, J.P, Nardelli, Catterson, Acosta and DeGrasse, JJ.
